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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

ERIC B. FROMER CHIROPRACTIC, INC.,

                        Plaintiff,                            Case Number 21-10916
v.                                                            Honorable David M. Lawson

STAT TRANSCRIPTION SERVICES, INC.,

                  Defendant.
________________________________________/

                                     ORDER OF DISMISSAL

         On August 19, 2021, the plaintiff filed a notice voluntarily dismissing all of its claims in

this matter. The defendant has not answered the complaint or filed any motion for summary

judgment. The case therefore will be dismissed. See Fed. R. Civ. P. 41(a)(1)(A)(i).

         Accordingly, it is ORDERED that the case is DISMISSED.

                                                              s/David M. Lawson
                                                              DAVID M. LAWSON
                                                              United States District Judge

Dated: August 25, 2021
